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                    IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA

    Dale Ylitalo and R4 Construction, LLC,
    individually and on behalf of all others
    similarly situated,

                         Plaintiffs,

    v.                                            Case No.

    Automatic Data Processing, Inc., and
    American Century Investments Services,        JURY TRIAL DEMANDED
    Inc.,

                         Defendants.


                            CLASS ACTION COMPLAINT

         Plaintiffs Dale Ylitalo and R4 Construction, LLC (“Plaintiffs”), individually

and on behalf of all others similarly situated, by and through their attorneys, bring

this action against Defendants Automatic Data Processing, Inc. 1 and American
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Century      Investments     Services,   Inc.   (“American   Century        Investments”)

(collectively “Defendants”). Plaintiffs allege the following upon information and

belief, except as to those allegations concerning Plaintiffs, which are alleged upon

personal knowledge. Plaintiffs’ information and belief is based upon, among other




1ADP, LLC and ADP, Inc. are subsidiaries of Automatic Data Processing, Inc. (collectively
“ADP”).
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things, their counsel’s investigation. In support thereof, Plaintiff alleges the

following:

                                I.     INTRODUCTION

      1.     This is a class action on behalf of persons and entities that, from the

date of filing to three years prior thereto (the “Class Period”), purchased or

otherwise acquired ADP’s SIMPLE IRAs (hereinafter “SIMPLE IRAs”), the funds

for which were invested in American Century Investments’ mutual funds as

selected and sold at the time of sale of the SIMPLE IRAs.. The action is brought

against Defendants for violations of Section 11, 12(a)(2), 15(a), 15(c), and 20(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”), N.J.S.A. 49:3-52 and

49:3-56, Florida Deceptive and Unfair Trade Practices Act (FDUTPA), Fla. Stat.

501.201, et seq., Fla. Stat. 517.311, and Fla. Stat. 517.12. Plaintiffs also bring claims

for fraud in the inducement, gross negligence, negligent misrepresentation, and

unjust enrichment.

      2.     ADP provides human resources management software and services

such as payroll services, time and attendance tools, tax services, compliance

services, benefits administration, and retirement plans. ADP offers services across

the United States.

      3.     Along with these services, ADP cross-sells retirement plans including

SIMPLE IRAs, the funds for which are invested in American Century Investments’



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mutual funds as selected and sold at the time of sale of the SIMPLE IRAs. These

SIMPLE IRAs are securities governed by the Exchange Act.

      4.    During the Class Period, ADP sold SIMPLE IRAs, the funds for which

are invested in American Century Investments’ mutual funds as selected and sold

at the time of sale of the SIMPLE IRAs, to the class, through ADP employees who

are unlicensed and unregistered.

      5.    American Century Investments knew of and encouraged the use of

unlicensed and unregistered personnel to sell the SIMPLE IRA plans, the funds for

which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs. American Century Investments

participated in training the unlicensed and unregistered ADP employees to sell

SIMPLE IRA plans.

      6.    Defendants failed to properly train and supervise their unlicensed

and unregistered personnel in selling securities.

      7.    Defendants failed to disclose to consumers that their unlicensed and

unregistered personnel are required to sell a certain number of SIMPLE IRAs or

were otherwise provided incentives to sell SIMPLE IRAs, the funds for which are

invested in American Century Investments’ mutual funds as selected and sold at

the time of sale of the SIMPLE IRAs.




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      8.    As a result of Defendants’ wrongful acts and omissions, Plaintiffs and

the Class Members were induced into purchasing SIMPLE IRAs.

      9.    As a result of Defendants’ wrongful acts and omissions, Plaintiffs and

the Class Members have incurred monetary damages and attorney fees and costs.

                       II.    JURISDICTION AND VENUE

      10.   The claims asserted herein arise under Sections 11, 12(a), 15(a), 15(c),

and 20(a) of the Exchange Act (15 U.S.C. § 77k, § 77l(a), § 78o(c)(1), and § 78t(a))

and 29 U.S.C. § 1106. This Court has jurisdiction over the subject matter of this

action pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C.

§ 78aa). This Court may exercise supplemental jurisdiction over Plaintiff’s state

law claims under 28 U.S.C § 1367 because the claims form the same case or

controversy under Article III of the United States Constitution.

      11.   This Court has diversity jurisdiction over this action under the Class

Action Fairness Act, 28 U.S.C. § 1332(d) because this is a class action involving

more than 100 class members, the amount in controversy exceeds $5 million,

exclusive of interest and costs, and Plaintiffs and Class Members are citizens of

states that differ from Defendants.

      12.   This Court has personal jurisdiction over Defendants because

Defendants have sufficient minimum contacts with the State of Florida.




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      13.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events or omissions giving rise to these claims

occurred in this Judicial District.

      14.    In connection with the acts, transactions, and conduct alleged herein,

Defendants directly and indirectly used means and instrumentalities of interstate

commerce, including the United States mail, interstate telephone communications,

and facilities of the national securities exchange.

                                      III.     PARTIES

      15.    Plaintiff Dale Ylitalo is a citizen of Naples, Florida.

      16.    R4 Construction, LLC is a limited liability company filed under the

laws of Florida, with its principal place of business located in Naples, Florida.

      17.    Defendant Automatic Data Processing, Inc. is incorporated in

Delaware with its principal place of business located in Roseland, New Jersey. All

claims against ADP are brought against ADP, its subsidiaries and assigns.

      18.    Defendant       American        Century   Investment   Services,   Inc.   is

incorporated in Missouri with its principal place of business located in Kansas

City, Missouri.

                       IV.     SUBSTANTIVE ALLEGATIONS

      19.    ADP Employer Services is a division of ADP, Inc. ADP Retirement

Services is a part of the Employer Services division. ADP Retirement Services



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provides recordkeeping and administrative services to tax-qualified contribution

retirement plans.

      20.   ADP sells IRA plans, including SIMPLE IRAs and SEP IRAs (“SEP

IRAs”).

      21.   ADP markets and/or provides money management services in

connection with two IRA institutions for more than 15,000 SIMPLE IRA plans.

      22.   ADP’s SIMPLE IRAs funds are invested in American Century

Investments’ mutual funds as selected and sold at the time of sale of the SIMPLE

IRAs, making them securities governed by the Exchange Act.

      23.   ADP employs sales representatives in ADP Small Business Services

(“SBS”). Little to none of the SBS sales representatives are licensed as broker-

dealers or as sales representatives under Financial Industry Regulatory Authority

(“FINRA”) or their respective states.

      24.   The SBS sales representatives sell ADP products to small business

owners, including SIMPLE IRAs, the funds for which are invested in American

Century Investments’ mutual funds as selected and sold at the time of sale of the

SIMPLE IRAs. The SBS sales representatives initiate contact with the small

business owners, talk to them about the benefits of SIMPLE IRAs, discuss the

terms of a SIMPLE IRA, estimate returns on a SIMPLE IRA, ultimately selling

small business owners on investing in the SIMPLE IRAs, for which American



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Century     Investments      is   ADP’s      exclusive    partner/provider      of

investments/securities. The money used to fund the SIMPLE IRAs are invested in

American Century Investments’ mutual funds as selected and sold at the time of

sale of the SIMPLE IRAs.

      25.   The unlicensed and unregistered SBS sales representatives call

customers or potential customers to discuss and sell them SIMPLE IRAs, the funds

for which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs. The SBS sales representatives

discuss with these customers, including Plaintiffs and the Class Members, the

projected rates of return, investment potential, and the investment benefits of the

SIMPLE IRAs and that American Century Investments is ADP’s exclusive partner

and provider of the investments and securities for the SIMPLE IRAs. The SBS sales

representatives use language of solicitation, qualification, and detailed

descriptions of the investment opportunities.

      26.   Defendants had policies and procedures in place which encouraged

and/or required the unlicensed and unregistered SBS sales representatives to sell

SIMPLE IRAs, the funds for which are invested in American Century Investments’

mutual funds as selected and sold at the time of sale of the SIMPLE IRAs.




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      27.   ADP encourages their unlicensed and unregistered SBS sales

representatives to sell SIMPLE IRAs through training, incentives, reviews, and

requirements.

      28.   ADP trains and encourages their unlicensed and unregistered SBS

sales representatives to go beyond generally piquing the interest of potential

clients. ADP required the SBS sales representatives to make the sales pitch in a

manner that by the time the unlicensed and unregistered sales representative

would send the client to a FINRA licensed ADP employee, the unlicensed and

unregistered SBS sales representative had already sold the customer on the

SIMPLE IRA, the funds for which are invested in American Century Investments’

mutual funds as selected and sold at the time of sale of the SIMPLE IRAs, and an

ADP employee, registered and/or licensed under FINRA and State licensing laws,

merely rubber stamped the agreement.

      29.   It was understood by ADP and all ADP employees that the unlicensed

and unregistered SBS sales representatives were the ones selling the SIMPLE IRAs.

The unlicensed and unregistered SBS sales representatives had monthly sales

quotas for SIMPLE IRAs they were expected and required to meet each month.

      30.   The unlicensed and unregistered SBS sales representatives did not

meet their sales quotas simply by sending clients over to talk to a licensed ADP

employee or broker. The unlicensed and unregistered SBS sales representatives



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were required to have “closed” the customer on the deal and send a sold

customer’s SIMPLE IRA to a licensed ADP employee or broker for rubber stamp

approval to meet their quotas.

      31.   The requirement to “sell” a certain number of SIMPLE IRAs each

month was not given to the FINRA licensed ADP employees.

      32.   ADP offers incentives for the unlicensed and unregistered SBS sales

representatives to sell SIMPLE IRAs by rewarding SBS sales representatives with

days off, cash bonuses sent over Venmo, gift cards, and other tangible prizes as

well as compensation for the sale.

      33.   The unlicensed and unregistered SBS sales representatives did not

receive compensation or credit for a completed sale of the SIMPLE IRAs, the funds

for which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs, unless the sale closed.

      34.   ADP pressures and bribes unlicensed sales associates to sell SIMPLE

IRAs to their clientele. ADP trained its unlicensed sales employees to favor

SIMPLE IRAs over other IRA plans.

      35.   ADP’s compliance department is required to authorize and does

authorize these promotions, requirements, and incentives and is aware that sales

solicitations and sales of SIMPLE IRAs, the funds for which are invested in

American Century Investments’ mutual funds as selected and sold at the time of



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sale of the SIMPLE IRAs, are being made by unlicensed and unregistered sales

representatives.

      36.   American Century Investments knew of these sales requirements,

promotions, and incentives, and encouraged the sale of SIMPLE IRAs, the funds

for which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs, by unlicensed and unregistered

SBS sales representatives.

      37.   ADP     and      American   Century   Investments   train    SBS   sales

representatives on how to sell SIMPLE IRAs, the funds for which are invested in

American Century Investments’ mutual funds as selected and sold at the time of

sale of the SIMPLE IRAs, using talk tracks, videos, and presentations.

      38.   ADP and American Century Investments did not provide the same

training to SBS sales representatives to sell SEP IRAs. Even if the SEP IRAs were a

better option for the client, the SBS sales representatives encouraged clients to

purchase the SIMPLE IRAs over the SEP IRAs.

      39.   To encourage and aid the unlicensed and unregistered SBS sales

representatives in selling SIMPLE IRAs, the funds for which are invested in

American Century Investments’ mutual funds as selected and sold at the time of

sale of the SIMPLE IRAs, ADP created an online calculator called SIMPLE

Calculator. The SIMPLE Calculator allows ADP’s SBS sales representatives to



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input data, such as the amount of money the small business owner wanted to

spend each month, employee contributions, company matches, annual salaries,

and an employee’s tax bracket, in order to calculate the cost, savings, and projected

return on investment offered with a SIMPLE IRA, invested in securities provided

by American Century Investments.

      40.    ADP made the SIMPLE Calculator available for the unlicensed and

unregistered SBS sales representatives to use in soliciting and selling SIMPLE

IRAs, the funds for which are invested in American Century Investments’ mutual

funds as selected and sold at the time of sale of the SIMPLE IRAs.

      41.    With the SIMPLE Calculator, unlicensed and unregistered SBS sales

representatives ask ADP customers how much they are comfortable setting aside

for retirement, discuss the price of a SIMPLE IRA, explain tax savings with

SIMPLE IRA, estimate investment returns on the SIMPLE IRA, and show potential

outcomes of the SIMPLE IRA investments.

      42.    As a result, the SBS sales representatives are using the SIMPLE

Calculator to give customers, such as Plaintiffs and the Class Members, estimated

returns based on unreliable and unlikely return rates.

      43.    American Century Investments knows of and encourages ADP’s use

of these strategies to sell SIMPLE IRAs, the funds for which are invested in




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American Century Investments’ mutual funds as selected and sold at the time of

sale of the SIMPLE IRAs

      44.   Defendants intended that the clients rely on the statements or

omissions made by the unlicensed and unregister SBS sales representatives,

including the return rates.

      45.   Defendants failed to properly or adequately train or educate the SBS

sales representatives on their legal limitations as unlicensed and unregistered

salespersons. Rather, Defendants knowingly encouraged the SBS sales

representatives to sell the SIMPLE IRAs, the funds for which are invested in

American Century Investments’ mutual funds as selected and sold at the time of

sale of the SIMPLE IRAs, without a brokerage or FINRA license.

      46.   Defendants did not inform Plaintiffs or the Class Members that the

unlicensed and unregistered SBS sales representatives were being given incentives

to or were required to push the SIMPLE IRAs over other plans.

      47.   Plaintiffs and other Class Members relied on the statements made by

the unlicensed and unregistered SBS sales representatives in purchasing SIMPLE

IRAs, the funds for which are invested in American Century Investments’ mutual

funds as selected and sold at the time of sale of the SIMPLE IRAs.




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      48.    Plaintiffs and the Class Members purchased SIMPLE IRAs without

being fully informed of their investments and the incentives offered to the SBS

sales representatives.

      49.    As a result, Plaintiffs and the Class Members have suffered damages,

including, but not limited to, monetary damages, attorney fees, and cost.

                         V.   CLASS ACTION ALLEGATIONS

      50.    Plaintiffs bring this nationwide class action on behalf of themselves

and on behalf of all others similarly situated pursuant to Rule 23(b)(2), 23(b)(3),

and 23(c)(4) of the Federal Rules of Civil Procedure.

      51.    The Class that Plaintiffs seek to represent is defined as follows:

             All individuals or entities who, because of statements
             or representations made by ADP’s SBS sales
             representatives, purchased SIMPLE IRA(s) from ADP
             at any time from the date of filing to three years prior
             thereto (the “Class”).

      52.    Excluded from the Classes are the following individuals and/or

entities: Defendants and Defendants’ parents, subsidiaries, affiliates, officers and

directors, and any entity in which Defendants have a controlling interest; all

individuals who make a timely election to be excluded from this proceeding using

the correct protocol for opting out; any and all federal, state or local governments,

including but not limited to their departments, agencies, divisions, bureaus,




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boards, sections, groups, counsels and/or subdivisions; and all judges assigned to

hear any aspect of this litigation, as well as their immediate family members.

      53.   Plaintiffs reserve the right to modify or amend the definition of the

proposed classes before the Court determines whether certification is appropriate.

      54.   Numerosity (Fed. R. Civ. P. 23(a)(1)): The Class is so numerous that

joinder of all members is impracticable. ADP sold SIMPLE IRAs to thousands of

individuals through their unlicensed and unregistered SBS sales representatives.

      55.   Commonality (Fed. R. Civ. P. 23(a)(2) & (b)(3)): Questions of law and

fact common to the Classes exist and predominate over any questions affecting

only individual Class Members. These include:

            a.     Whether Defendants used unlicensed and unregistered sales

            representatives to sell securities;

            b.     Whether Defendants failed to adequately train the unlicensed

            and unregistered SBS sales representatives;

            c.     Whether and to what extend Defendants had a duty to disclose

            the unlicensed and unregistered sales representatives’ monthly sales

            quotas to Plaintiffs and the Class Members; and

            d.     Whether and to what extend Defendants had a duty to disclose

            the unlicensed and unregistered sales representatives’ compensation,

            bonuses, and other benefits to Plaintiffs and the Class Members.



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      56.    Typicality (Fed. R. Civ. P. 23(a)(3)): Plaintiffs’ claims are typical of

those of other Class Members because all invested in the SIMPLE IRAs, the funds

for which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs, after being solicited by ADP’s

unlicensed and unregistered sales representatives and without material

information about the SIMPLE IRAs, the funds for which are invested in American

Century Investments’ mutual funds as selected and sold at the time of sale of the

SIMPLE IRAs, including that the sales representatives were unlicensed and

unregistered.

      57.    Policies Generally Applicable to the Class: This class action is also

appropriate for certification because Defendants have acted or refused to act on

grounds generally applicable to the Class, thereby requiring the Court’s

imposition of uniform relief to ensure compatible standards of conduct toward

Class Members and making final injunctive relief appropriate with respect to the

Class as a whole. Defendants’ policies challenged herein apply to and affect Class

Members uniformly and Plaintiffs’ challenge of these policies hinges on

Defendants’ conduct with respect to the Class as a whole, not on facts or law

applicable only to Plaintiffs.

      58.    Adequacy (Fed. R. Civ. P. 23(a)(4)): Plaintiffs will fairly and

adequately represent and protect the interests of Class Members in that they have



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no disabling conflicts of interest that would be antagonistic to those of the other

Members of the Class. Plaintiffs seek no relief that is antagonistic or adverse to the

Members of the Class and the infringement of the rights and the damages they

have suffered are typical of other Class Members. Plaintiff have retained counsel

experienced in complex class action litigation, and Plaintiffs intend to prosecute

this action vigorously.

      59.    Superiority and Manageability (Fed. R. Civ. P. 23(b)(3)): The class

litigation is an appropriate method for fair and efficient adjudication of the claims

involved. Class action treatment is superior to all other available methods for the

fair and efficient adjudication of the controversy alleged herein; it will permit a

large number of Class Members to prosecute their common claims in a single

forum simultaneously, efficiently, and without the unnecessary duplication of

evidence, effort, and expense that hundreds of individual actions would require.

Class action treatment will permit the adjudication of relatively modest claims by

certain Class Members, who could not individually afford to litigate a complex

claim against large corporations, like Defendants. Further, even for those Class

Members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.

      60.    The nature of this action and the nature of laws available to Plaintiffs

and Class Members make the use of the class action device a particularly efficient



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and appropriate procedure to afford relief to Plaintiffs and Class Members for the

wrongs alleged because Defendants would necessarily gain an unconscionable

advantage since it would be able to exploit and overwhelm the limited resources

of each individual Class Member with superior financial and legal resources; the

costs of individual suits could unreasonably consume the amounts that would be

recovered; proof of a common course of conduct to which Plaintiffs were exposed

is representative of that experienced by the Class and will establish the right of

each Class Member to recover on the cause of action alleged; and individual

actions would create a risk of inconsistent results and would be unnecessary and

duplicative of this litigation.

      61.    The litigation of the claims brought herein is manageable.

Defendants’ uniform conduct, the consistent provisions of the relevant laws, and

the ascertainable identities of Class Members demonstrates that there would be no

significant manageability problems with prosecuting this lawsuit as a class action.

      62.    Adequate notice can be given to Class Members directly using

information maintained in Defendants’ records.

      63.    Unless a Class-wide injunction is issued, Defendants may continue to

sell SIMPLE IRAs, the funds for which are invested in American Century

Investments’ mutual funds as selected and sold at the time of sale of the SIMPLE

IRAs, through unlicensed and unregistered SBS sales representatives, and may



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continue to make material misrepresentations, omissions, or concealments

regarding the SBS sales representatives’ compensation.

      64.    Further, Defendants have acted or refused to act on grounds generally

applicable to the Classes and, accordingly, final injunctive or corresponding

declaratory relief with regard to Class Members as a whole is appropriate under

Rule 23(b)(2) of the Federal Rules of Civil Procedure.

      65.    Likewise, particular issues under Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the

resolution of which would advance the disposition of this matter and the parties’

interests therein. Such particular issues include, but are not limited to:

             a.      Whether Defendants owed a duty to Plaintiffs and Class

             Members to adequately and sufficiently inform them on SIMPLE IRA,

             the funds for which are invested in American Century Investments’

             mutual funds as selected and sold at the time of sale of the SIMPLE

             IRAs;

             b.      Whether Defendants owed a duty to Plaintiffs and Class

             Members to adequately and sufficiently inform them on the SBS sales

             representatives’ sales quotas and compensation rates;

             c.      Whether Defendants violated their duties to Plaintiffs and Class

             Members;



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             d.    Whether Defendants violated the Exchange Act; and

             e.    Whether Defendants violated state law.

                            VI.      CLAIMS FOR RELIEF

                                    COUNT I
        Violation of Section 11 and Section 12(a)(2) of the Exchange Act
           (Plaintiffs on Behalf of the Class Against All Defendants)

      66.    Plaintiffs incorporate paragraphs 1 through 65 each allegation

contained above, as though fully set forth herein.

      67.    During the Class Period, Defendants negligently or recklessly carried

out a plan, scheme and course of conduct which, throughout the Class Period,

(i) deceived investors in the SIMPLE IRA, including Plaintiffs and the Class

Members, as alleged herein; (ii) caused Plaintiffs and the Class Members to

purchase SIMPLE IRAs, the funds for which are invested in American Century

Investments’ mutual funds as selected and sold at the time of sale of the SIMPLE

IRAs, and (iii) caused Plaintiffs and the Class Members substantial losses.

      68.    Defendants    (i) employed    devises,       schemes,   and   artifices   to

negligently or recklessly make material misrepresentations to investors;

(ii) negligently or recklessly omitted statements of material fact or made negligent

or reckless concealments, and (iii) negligently or recklessly engaged in acts,

practices, and course of business which failed to properly, adequately, and

completely    disclose   pertinent   information     or    otherwise   misrepresented



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information to purchasers of securities, including Plaintiffs and the Class

Members, in violation of Section 11 and 12(a)(2) of the Exchange Act.

      69.   All Defendants are sued both as primary participants in the wrongful

and illegal conduct charged herein and as controlling persons. Defendants are

sued as a primary participant in that, the SBS sales representatives and other

employees acted as agents of Defendants. Defendants are also sued as a controlling

person in that, Defendants and their employees and agents possessed both direct

and indirect power to direct or cause the direction of the management and policies

of the personnel engaged in selling SIMPLE IRAs, the funds for which are invested

in American Century Investments’ mutual funds as selected and sold at the time

of sale of the SIMPLE IRAs.

      70.   ADP encouraged and bribed unlicensed and unregistered sales

representatives to sell SIMPLE IRAs, the funds for which are invested in American

Century Investments’ mutual funds as selected and sold at the time of sale of the

SIMPLE IRAs. ADP required its sales representatives to sell a minimum number

of SIMPLE IRAs within a certain time period.

      71.   American Century Investments knew of and encouraged these sale

tactics, including requiring unlicensed and unregistered SBS sales representatives

to sell the SIMPLE IRAs, the funds for which are invested in American Century




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Investments’ mutual funds as selected and sold at the time of sale of the SIMPLE

IRAs.

        72.      Defendants failed to inform Plaintiffs and the Class Members of

material information regarding the SIMPLE IRAs, the funds for which are invested

in American Century Investments’ mutual funds as selected and sold at the time

of sale of the SIMPLE IRAs. Defendants’ misrepresentations, material omissions

and concealments include, but are not limited to:

              a. Omissions    and/or    concealments       regarding   the   SBS   sales

                 representatives’ commissions, including bonuses, prizes, days off,

                 and other benefits for the sale of certain SIMPLE IRAs;

              b. Omissions    and/or    concealments       regarding   the   SBS   sales

                 representatives’ required sales quotas;

              c. Omissions and/or concealments that the SIMPLE IRAs, the funds for

                 which are invested in American Century Investments’ mutual funds

                 as selected and sold at the time of sale of the SIMPLE IRAs, were being

                 sold by unlicensed and unregistered sales personnel;

              d. Omissions and/or concealments that SBS sales representatives were

                 required and/or encouraged to sell SIMPLE IRA plans over other IRA

                 plans; and

              e. Misrepresentations regarding the potential return on SIMPLE IRAs.



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        73.   Defendants, individually and in concert, directly and indirectly, by

the use, means, or instrumentalities of interstate commerce and/or of the mails,

electronic mailing, or telephone communications, engaged and participated in a

continuous course of conduct to conceal adverse material information about the

compensation of the persons selling the securities, as specified herein.

        74.   Defendants employed devices, schemes, and artifices to defraud by

intentionally withholding information not available to the customers or the public

and engaged in acts, practices, and a course of conduct as alleged herein in an

effort to ensure that the customers do purchase or are not discouraged from

purchases SIMPLE IRAs, the funds for which are invested in American Century

Investments’ mutual funds as selected and sold at the time of sale of the SIMPLE

IRAs.

        75.   Defendants knew or reasonably should have known of the

misrepresentations and/or omissions of material facts as set forth herein or acted

with reckless disregard for the truth in that they failed to ascertain and to disclose

such facts, even though such facts were readily available to them. Defendants’

material misrepresentations and/or omissions were done knowingly or recklessly

and for the purpose and effect of selling the SIMPLE IRAs, the funds for which are

invested in American Century Investments’ mutual funds as selected and sold at

the time of sale of the SIMPLE IRAs. If Defendants did not have actual knowledge



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of the misrepresentations and/or omissions alleged, the Defendants were

negligent or reckless in failing to obtain such knowledge by negligently or

deliberately refraining from taking those steps necessary to discover whether

those statements were false or misleading.

      76.   As a result of the Defendants’ material misrepresentations and/or

omissions, Plaintiffs and other members of the Class were led to believe that the

SIMPLE IRAs were a better investment than it was, and did invest in the SIMPLE

IRAs, the funds for which are invested in American Century Investments’ mutual

funds as selected and sold at the time of sale of the SIMPLE IRAs.

      77.   At the time, Plaintiffs and other members of the Class were not aware

of the misrepresentations and/or omissions. Had Plaintiffs and other members of

the Class known of the misrepresentations and/or omissions, they would not have

purchased the SIMPLE IRAs.

      78.   By virtue of the foregoing, Defendants violated Section 11 and Section

12(a)(2) of the Exchange Act.

      79.   As a direct and proximate cause of Defendants’ wrongful conduct,

Plaintiffs and other members of the Class suffered damages in connection with

their respective purchases and sales of the SIMPLE IRAs, the funds for which are

invested in American Century Investments’ mutual funds as selected and sold at

the time of sale of the SIMPLE IRAs, during the Class Period.



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                                     COUNT II
                 Violation of Section 15(a)(1) of the Exchange Act
            (Plaintiffs on Behalf of the Class Against All Defendants)

      80.       Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.

      81.       During the Class Period, Defendants, either directly or indirectly,

used unlicensed and unregistered persons and/or persons otherwise not in

compliance with Section 15(a)(2) of the Exchange Act (15 U.S.C. § 78(a)(2)) to make

use of mail or any means of instrumentality of interstate commerce to effect

transactions in, induce, and/or attempt to induce the sale of securities.

      82.       ADP’s SBS sales representatives induced, attempted to induce,

and/or substantially engaged in the purchase and sale of SIMPLE IRAs, the funds

for which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs, to investors, including Plaintiffs

and the Class Members. ADP’s SBS sales representatives, however, knowingly

were not registered with the SEC and FINRA as broker-dealers pursuant to Section

15(b) of the Exchange Act (15 U.S.C. § 78o(b)).

      83.       ADP encouraged and bribed unlicensed and unregistered SBS sales

representatives to sell SIMPLE IRAs, the funds for which are invested in American

Century Investments’ mutual funds as selected and sold at the time of sale of the

SIMPLE IRAs. ADP required its unlicensed and unregistered SBS sales



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representatives to sell a minimum number of SIMPLE IRAs within a certain time

period.

        84.     American Century Investments knew of and encouraged these sale

tactics, including requiring unlicensed and unregistered SBS sales representatives

to sell the SIMPLE IRAs, the funds for which are invested in American Century

Investments’ mutual funds as selected and sold at the time of sale of the SIMPLE

IRAs.

        85.     As a direct and proximate result of the wrongful conduct of

Defendants, Plaintiffs and the Class Members purchased the SIMPLE IRAs, the

funds for which are invested in American Century Investments’ mutual funds as

selected and sold at the time of sale of the SIMPLE IRAs, and suffered damages in

connection with their purchases of the SIMPLE IRAs during the Class Period.

        86.     By reasons of the foregoing, Defendants violated, and unless

enjoined, will continue to violate Section 15(a)(1) of the Exchange Act (15 U.S.C.

§ 78o(a)(1)).

                                      COUNT III
                 Violation of Section 15(c)(1)(A) of the Exchange Act
              (Plaintiffs on Behalf of the Class Against All Defendants)

        87.     Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.




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      88.     During the Class Period, Defendants had employees or agents who

were registered with the SEC and FINRA as broker-dealers pursuant to Section

15(b) of the Exchange Act (15 U.S.C. § 78o(b)). ADP’s SBS sales representatives,

however, knowingly were not registered with the SEC and FINRA as broker-

dealers pursuant to Section 15(b) of the Exchange Act (15 U.S.C. § 78o(b)).

      89.     As set forth above, Defendants directly or indirectly, by use of the

means or instrumentality of interstate commerce, of the mails, or any facility of

any national securities exchange, used or employed, in connection with the

purchase or sale, or the inducement or attempted inducement of the purchase or

sale, of securities otherwise than on a national exchange, acts, practices, or courses

of business that constitutes a manipulative, deceptive, or other fraudulent device

or contrivance.

      90.     Defendants failed to inform Plaintiffs and the Class Members of

material information regarding the SIMPLE IRAs, the funds for which are invested

in American Century Investments’ mutual funds as selected and sold at the time

of sale of the SIMPLE IRAs. Defendants’ misrepresentations, material omissions

and concealments include, but are not limited to:

            a. Omissions   and/or    concealments     regarding     the   SBS   sales

              representatives’ commissions, including bonuses, prizes, days off,

              and other benefits for the sale of certain SIMPLE IRAs, the funds for



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               which are invested in American Century Investments’ mutual funds

               as selected and sold at the time of sale of the SIMPLE IRAs;

            b. Omissions    and/or    concealments       regarding   the   SBS   sales

               representatives’ required sales quotas;

            c. Omissions and/or concealments that the SIMPLE IRAs, the funds for

               which were invested in American Century Investments’ mutual

               funds as selected and sold at the time of sale of the SIMPLE IRAs,

               were being sold by unlicensed and unregistered sales personnel;

            d. Omissions and/or concealments that SBS sales representatives were

               required and/or encouraged to sell SIMPLE IRA plans over other IRA

               plans; and

            e. Misrepresentations regarding the potential return on SIMPLE IRAs.

      91.      Defendants knew or should have known that its SBS sales

representatives used inaccurate estimated investment return rates via the SIMPLE

Calculator provided by ADP to sell the SIMPLE IRAs, the funds for which are

invested in American Century Investments’ mutual funds as selected and sold at

the time of sale of the SIMPLE IRAs.

      92.      ADP encouraged and bribed unlicensed and unregistered sales

representatives to sell the SIMPLE IRAs, the funds for which are invested in

American Century Investments’ mutual funds as selected and sold at the time of



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sale of the SIMPLE IRAs. ADP required its sales representatives to sell a minimum

number of the SIMPLE IRAs within a certain time period.

      93.   American Century Investments encouraged these sales tactics and

trained ADP’s unlicensed and unregistered SBS sales representatives to sell the

SIMPLE IRAs, the funds for which are invested in American Century Investments’

mutual funds as selected and sold at the time of sale of the SIMPLE IRAs.

      94.   Defendants conduct amounts to manipulative, deceptive, or

otherwise fraudulent sales tactics used to sell the SIMPLE IRAs, the funds for

which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs.

      95.   Defendants omitted such facts and made such misrepresentations in

conversations with investors across the United States to induce investors to

purchase the SIMPLE IRAs, the funds for which are invested in American Century

Investments’ mutual funds as selected and sold at the time of sale of the SIMPLE

IRAs. As a direct and proximate result of the wrongful conduct of Defendants,

Plaintiffs and the Class Members purchased the SIMPLE IRAs, the funds for which

are invested in American Century Investments’ mutual funds as selected and sold

at the time of sale of the SIMPLE IRAs, and suffered damages in connection with

their purchases of the SIMPLE IRAs during the Class Period.




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      96.       By reasons of the foregoing, Defendants violated, and unless

enjoined, will continue to violate Section 15(c)(1)(A) of the Exchange Act (15 U.S.C.

§ 78o(c)(1)(A)).

                                    COUNT IV
                  Violation of Section 20(a) of the Exchange Act
            (Plaintiffs on Behalf of the Class Against All Defendants)

      97.       Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.

      98.       Defendants acted as controlling persons of SBS sales representatives

within the meaning of Section 20(a) of the Exchange Act as alleged herein. By

virtue of their ownership and contractual rights, participation in, and/or

awareness of the operations of the SBS sales representatives, and intimate

knowledge of the material information concealed from the investing public,

Defendants had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of the SBS sales representatives,

including their participation in the fraudulent scheme alleged herein.

      99.       Defendants had direct and supervisory involvement in the day-to-

day operations of the SBS sales representatives and, therefore, had the power to

control or influence the particular decisions giving rise to the securities violations

as alleged herein, and exercise the same.




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      100.      As set forth above, Defendants, by and through their employees and

agents, each violated Section 20(a) by their acts and omissions as alleged in this

Complaint. By virtue of their position as controlling persons, Defendants are liable

pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of

Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered

damages in connection with their purchases of SIMPLE IRAs, the funds for which

are invested in American Century Investments’ mutual funds as selected and sold

at the time of sale of the SIMPLE IRAs, during the Class Period.

                                      COUNT V
                          VIOLATION OF 29 U.S.C. § 1106
             (Plaintiffs on Behalf of the Class Against All Defendants)

      101.      Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.

      102.      Defendants had a fiduciary relationship with the investors of SIMPLE

IRAs, – the funds for which are invested in American Century Investments’

mutual funds as selected and sold at the time of sale of the SIMPLE IRAs –

including Plaintiffs and the Class Members, where Defendants owed fiduciary

duties to Plaintiffs and the Class Members.

      103.      Defendants knew or should have known that the SBS sales

representatives received incentives, such as bonuses, gift cards, days off, and other

benefits, for the sale of the SIMPLE IRAs, the funds for which are invested in



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American Century Investments’ mutual funds as selected and sold at the time of

sale of the SIMPLE IRAs. Defendants knew or should have known that the SBS

sales representatives were required to sell a certain number of the SIMPLE IRA

plans each month. As a result, the SBS sales representatives received consideration

for their sale of the SIMPLE IRAs, the funds for which are invested in American

Century Investments’ mutual funds as selected and sold at the time of sale of the

SIMPLE IRAs.

       104.    In selling the SIMPLE IRAs, Defendants obtained a substantial benefit

and maintained a substantial interest in the sale of the SIMPLE IRAs, the funds for

which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs, in violation of 29 U.S.C. § 1106.

       105.    Defendants knowingly participated in and/or knowingly concealed

information surrounding the sale of the SIMPLE IRAs, the funds for which are

invested in American Century Investments’ mutual funds as selected and sold at

the time of sale of the SIMPLE IRAs, by persons who received a substantial benefit

from the sale.

       106.    As a result, Defendants breached their fiduciary duties to Plaintiffs

and the Class Members. Plaintiffs and the Class demand restoration of the profits

Defendants gained, and the losses Plaintiffs and the Class experienced as a result

of the sale.



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                                     COUNT VI
                          VIOLATION OF N.J.S.A. 49:2-56
             (Plaintiffs on Behalf of the Class Against All Defendants)

      107.      Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.

      108.      As set forth above, the Defendants used unlicensed and unregistered

SBS sales representatives to sell securities.

      109.      Defendants knew or should have known that these unlicensed and

unregistered SBS sales representatives were going beyond piquing the interest of

Plaintiffs and the Class Members and were acting as agents of ADP’s broker-

dealers to sell securities.

      110.      N.J.S.A. 49:3-56(a) makes it unlawful for any person to act as an agent

for a broker-dealer “unless that person is registered or exempt from registration”

under securities laws.

      111.      N.J.S.A. 49:3-56(h) makes it unlawful for any broker-dealer to employ

an agent unless that person is registered under securities laws.

      112.      The SBS sales representatives were not licensed or registered under

FINRA or New Jersey laws. Yet, Defendants intentionally used the SBS sales

representatives to act as agents for ADP’s broker dealers to sell the SIMPLE IRAs,

the funds for which are invested in American Century Investments’ mutual funds




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as selected and sold at the time of sale of the SIMPLE IRAs, in violation of N.J.S.A.

49:2-56.

      113.      The unlicensed and unregistered SBS sales representatives meet with

potential investors, including Plaintiffs and the Class Members, as the face of ADP

and solicited their investments.

      114.      As a result, Plaintiffs and the Class Members invested in the SIMPLE

IRAs, the funds for which are invested in American Century Investments’ mutual

funds as selected and sold at the time of sale of the SIMPLE IRAs.

      115.      As a result, Plaintiffs and the Class Members have suffered

substantial harm.

                                     COUNT VII
                          VIOLATION OF N.J.S.A 49:3-52(b)
             (Plaintiffs on Behalf of the Class Against All Defendants)

      116.      Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.

      117.      As set forth above, the Defendants negligently or recklessly made

material omissions or concealments to Plaintiffs and Class Members to induce

them to purchase the SIMPLE IRAs, the funds for which are invested in American

Century Investments’ mutual funds as selected and sold at the time of sale of the

SIMPLE IRAs, through ADP’s unlicensed and unregistered sales representatives

in violation of N.J.S.A. 49:3-52(b).



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      118.   Defendants failed to inform Plaintiffs and the Class Members of

material information regarding the SIMPLE IRAs, the funds for which are invested

in American Century Investments’ mutual funds as selected and sold at the time

of sale of the SIMPLE IRAs. Defendants’ misrepresentations, material omissions

and concealments include, but are not limited to:

             a.   Omissions and/or concealments regarding the SBS sales

         representatives’ commissions, including bonuses, prizes, days off, and

         other benefits for the sale of certain SIMPLE IRAs;

             b.   Omissions and/or concealments regarding the SBS sales

         representatives’ required sales quotas;

             c.   Omissions and/or concealments that the SIMPLE IRAs, the

         funds for which are invested in American Century Investments’ mutual

         funds as selected and sold at the time of sale of the SIMPLE IRAs, were

         being sold by unlicensed and unregistered sales personnel;

             d.   Omissions and/or concealments that SBS sales representatives

         were required and/or encouraged to sell the SIMPLE IRA plans over

         other IRA plans; and

             e.   Misrepresentations regarding the potential return on the

         SIMPLE IRAs.




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      119.   A reasonable investor would place great significance on these

misrepresentations, material omissions, and concealments and find that their

disclosure is material to investing in the SIMPLE IRAs, the funds for which are

invested in American Century Investments’ mutual funds as selected and sold at

the time of sale of the SIMPLE IRAs.

      120.   Defendants knew or should have known at the time that these

omissions or concealments were material to the Plaintiffs and the Class Members’

purchase, such that, had the material information been disclosed, Plaintiffs and

the Class Members would not have purchased the SIMPLE IRAs, the funds for

which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs.

      121.   Defendants had a duty under law to disclose to Plaintiffs and the

Class Members the information that was negligently or recklessly omitted or

concealed.

      122.   Plaintiffs and the Class Members were ignorant of the material

omissions or concealments. Plaintiffs and the Class Members did not have a

reasonable or equal opportunity to learn of or otherwise discover the information

omitted or concealed.




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        123.    Defendants knew or should have known that Plaintiffs and the Class

Members were ignorant to the material information intentionally omitted or

concealed.

        124.    Defendants knew or should have known that these material

omissions or concealments would induce reliance, on behalf of Plaintiff and the

Class Members, to invest in the SIMPLA IRAs.

        125.    Defendants intended for Plaintiffs and the Class Members to rely on

the material misrepresentations, omissions, and concealments.

        126.    As a result, Plaintiffs and the Class Members did in fact rely on these

material omissions or concealments and invested in SIMPLE IRAs, the funds for

which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs.

        127.    As a proximate result of Defendants’ negligent or reckless

misrepresentations, Plaintiffs and the Class Members have suffered substantial

harm.

                                  COUNT VIII
         GROSS NEGLIGENCE/NEGLIGENT MISREPRESENTATION
           (Plaintiffs on Behalf of the Class Against All Defendants)

        128.    Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.




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      129.    As set forth above, the Defendants made material omissions or

concealments to Plaintiffs and Class Members in order to induce them to purchase

the SIMPLE IRAs, the funds for which are invested in American Century

Investments’ mutual funds as selected and sold at the time of sale of the SIMPLE

IRAs, through ADP’s unlicensed and unregistered sales representatives.

      130.    Defendants failed to inform Plaintiffs and the Class Members of

material      information    regarding     the       SIMPLE   IRAs.     Defendants’

misrepresentations, material omissions and concealments include, but are not

limited to:

              a.    Omissions and/or concealments regarding the SBS sales

           representatives’ commissions, including bonuses, prizes, days off, and

           other benefits for the sale of certain SIMPLE IRAs, the funds for which

           are invested in American Century Investments’ mutual funds as selected

           and sold at the time of sale of the SIMPLE IRAs;

              b.    Omissions and/or concealments regarding the SBS sales

           representatives’ required sales quotas;

              c.    Omissions and/or concealments that the SIMPLE IRAs, the

           funds for which are invested in American Century Investments’ mutual

           funds as selected and sold at the time of sale of the SIMPLE IRAs, were

           being sold by unlicensed and unregistered sales personnel;



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             d.    Omissions and/or concealments that SBS sales representatives

         were required and/or encouraged to sell the SIMPLE IRA plans over

         other IRA plans; and

             e.    Misrepresentations regarding the potential return on the

         SIMPLE IRAs.

      131.   Defendants intended that Plaintiffs and the Class Members rely on

these misstatements, omissions, or concealments.

      132.   Defendants knew or should have known at the time that these

omissions or concealments were material to the Plaintiffs and the Class Members’

purchase, such that, had the material information been disclosed, Plaintiffs and

the Class Members would not have purchased the SIMPLE IRAs.

      133.   Defendants had a duty under law to disclose to Plaintiffs and the

Class Members the information that was omitted or concealed.

      134.   Defendants intended for Plaintiffs and the Class Members to rely on

the material misrepresentations, omissions, and concealments.

      135.   Plaintiffs and the Class Members were ignorant of the material

omissions or concealments. Plaintiffs and the Class Members did not have a

reasonable or equal opportunity to learn of or otherwise discover the information

omitted or concealed.




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      136.      Defendant knew or should have known that Plaintiffs and the Class

Members were ignorant to the material information omitted or concealed.

      137.      Defendants knew or should have known that these material

omissions or concealments would induce reliance upon the omissions or

concealments and cause Plaintiffs or the Class Members to invest in the SIMPLE

IRAs, the funds for which are invested in American Century Investments’ mutual

funds as selected and sold at the time of sale of the SIMPLE IRAs.

      138.      As a result, Plaintiffs and the Class Members justifiably relied, and

did in fact rely, on these material omissions or concealments and invested in the

SIMPLE IRAs, the funds for which are invested in American Century Investments’

mutual funds as selected and sold at the time of sale of the SIMPLE IRAs.

      139.      Defendants conduct amounts to gross negligence.

      140.      As a proximate result of Defendants’ misrepresentations, Plaintiffs

and the Class Members have suffered substantial harm.

                                     COUNT IX
                              UNJUST ENRICHMENT
             (Plaintiffs on Behalf of the Class Against All Defendants)

      141.      Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.

      142.      As set forth above, Defendants have engaged in improper, unlawful,

and/or unjust acts, all to the harm and detriment of Plaintiffs and Class Members.



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        143.   When Plaintiffs and Class Members invested in SIMPLE IRAs, the

funds for which are invested in American Century Investments’ mutual funds as

selected and sold at the time of sale of the SIMPLE IRAs, through ADP’s

unlicensed and unregistered sales representatives, they reasonably believed that

the Defendants were acting in good faith in furtherance of legitimate transactions.

        144.   Instead, Defendants acted improperly, unjustly, and unlawfully,

taking Plaintiffs’ and Class Members’ money for their personal and family’s

benefit.

        145.   Defendants have been enriched at Plaintiffs’ and Class Members’

expense through their investment into the SIMPLE IRAs, the funds for which are

invested in American Century Investments’ mutual funds as selected and sold at

the time of sale of the SIMPLE IRAs.

        146.   Defendants’ retention of Plaintiffs’ and Class Members’ funds violates

fundamental principles of justice, equity, and good conscience. Therefore,

retention of that benefit without repayment would be unjust.

        147.   As a proximate result of Defendants’ unjust retention of Plaintiffs’

and Class Members’ funds, Plaintiffs and Class Members have suffered substantial

harm.

                                 COUNT X
    VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
          PRACTICES ACT (FDUTPA), Fla. Stat. 501.201, et seq.
        (Plaintiffs on Behalf of the Class Against All Defendants)


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      148.      Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.

      149.      Defendants failed to inform Plaintiffs and the Class Members of

material      information     regarding    the       SIMPLE   IRAs.     Defendants’

misrepresentations, material omissions and concealments include, but are not

limited to:

                a.    Omissions and/or concealments regarding the SBS sales

           representatives’ commissions, including bonuses, prizes, days off, and

           other benefits for the sale of certain SIMPLE IRAs, the funds for which

           are invested in American Century Investments’ mutual funds as selected

           and sold at the time of sale of the SIMPLE IRAs;

                b.    Omissions and/or concealments regarding the SBS sales

           representatives’ required sales quotas;

                c.    Omissions and/or concealments that the SIMPLE IRAs, the

           funds for which are invested in American Century Investments’ mutual

           funds as selected and sold at the time of sale of the SIMPLE IRAs, were

           being sold by unlicensed and unregistered sales personnel;

                d.    Omissions and/or concealments that SBS sales representatives

           were required and/or encouraged to sell the SIMPLE IRA plans over

           other IRA plans; and


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                e.    Misrepresentations regarding the potential return on the

           SIMPLE IRAs.

        150.    Defendants’ conduct amounts to a deceptive trade practice under the

FDUTPA.

        151.    Defendants willfully used these methods, acts, or violations when

they knew or should have known that their conduct was unfair, deceptive, and

prohibited under the FDUTPA.

        152.    As a proximate result of Defendants’ unjust retention of Plaintiffs’

and Class Members’ funds, Plaintiffs and Class Members have suffered substantial

harm.

                                       COUNT XI
                            VIOLATION OF Fla. Stat. 517.311
               (Plaintiffs on Behalf of the Class Against All Defendants)

        153.    Plaintiffs incorporates paragraphs 1 through 65, as though fully set

forth herein.

        154.    As set forth above, the Defendants negligently or recklessly made

material omissions or concealments to Plaintiffs and Class Members to induce

them to purchase the SIMPLE IRAs, the funds for which are invested in American

Century Investments’ mutual funds as selected and sold at the time of sale of the

SIMPLE IRAs, through ADP’s unlicensed and unregistered sales representatives

in violation of Fla. Stat. 517.311.



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      155.    Defendants failed to inform Plaintiffs and the Class Members of

material information regarding the SIMPLE IRAs, the funds for which are invested

in American Century Investments’ mutual funds as selected and sold at the time

of sale of the SIMPLE IRAs. Defendants’ misrepresentations, material omissions

and concealments include, but are not limited to:

         a. Omissions     and/or   concealments       regarding   the   SBS   sales

      representatives’ commissions, including bonuses, prizes, days off, and other

      benefits for the sale of certain SIMPLE IRAs;

         b. Omissions     and/or   concealments       regarding   the   SBS   sales

      representatives’ required sales quotas;

         c. Omissions and/or concealments that the SIMPLE IRAs were being

      sold by unlicensed and unregistered sales personnel, the funds for which

      are invested in American Century Investments’ mutual funds as selected

      and sold at the time of sale of the SIMPLE IRAs;

         d. Omissions and/or concealments that SBS sales representatives were

      required and/or encouraged to sell the SIMPLE IRA plans over other IRA

      plans; and

         e. Misrepresentations regarding the potential return on the SIMPLE

      IRAs.




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      156.   A reasonable investor would place great significance on these

misrepresentations, material omissions, and concealments and find that their

disclosure is material to investing in the SIMPLE IRAs, the funds for which are

invested in American Century Investments’ mutual funds as selected and sold at

the time of sale of the SIMPLE IRAs.

      157.   Defendants knew or should have known at the time that these

omissions or concealments were material to the Plaintiffs and the Class Members’

purchase, such that, had the material information been disclosed, Plaintiffs and

the Class Members would not have purchased the SIMPLE IRAs, the funds for

which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs.

      158.   Defendants had a duty under law to disclose to Plaintiffs and the

Class Members the information that was negligently or recklessly omitted or

concealed.

      159.   Plaintiffs and the Class Members were ignorant of the material

omissions or concealments. Plaintiffs and the Class Members did not have a

reasonable or equal opportunity to learn of or otherwise discover the information

omitted or concealed.




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        160.    Defendants knew or should have known that Plaintiffs and the Class

Members were ignorant to the material information intentionally omitted or

concealed.

        161.    Defendants knew or should have known that these material

omissions or concealments would induce reliance, on behalf of Plaintiffs and the

Class Members, to invest in the SIMPLE IRAs.

        162.    As a result, Plaintiffs and the Class Members did in fact rely on these

material omissions or concealments and invested in the SIMPLE IRAs, the funds

for which are invested in American Century Investments’ mutual funds as selected

and sold at the time of sale of the SIMPLE IRAs.

        163.    As a proximate result of Defendants’ negligent or reckless

misrepresentations, Plaintiff and the Class Members have suffered substantial

harm.

                                       COUNT XII
                            VIOLATION OF Fla. Stat. 517.12
               (Plaintiffs on Behalf of the Class Against All Defendants)

        164.    Plaintiffs incorporate paragraphs 1 through 65, as though fully set

forth herein.

        165.    As set forth above, the Defendants used unlicensed and unregistered

SBS sales representatives to sell securities.




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      166.   Defendants knew or should have known that these unlicensed and

unregistered SBS sales representatives were going beyond piquing the interest of

Plaintiffs and the Class Members and were acting as agents of ADP’s broker-

dealers to sell securities.

      167.   Fla. Stat. 517.12(1) makes it unlawful for any person to act as an agent

for a broker-dealer “unless that person is registered or exempt from registration”

under securities laws.

      168.   The SBS sales representatives were not licensed or registered under

FINRA or Florida laws. Yet, Defendants intentionally used the SBS sales

representatives to act as agents for ADP’s broker dealers to sell the SIMPLE IRAs

in violation of Fla. Stat. 517.12.

      169.   The unlicensed and unregistered SBS sales representatives meet with

potential investors, including Plaintiffs and the Class Members, as the face of ADP

and solicited their investments.

      170.   As a result, Plaintiffs and the Class Members invested in the SIMPLE

IRAs, the funds for which are invested in American Century Investments’ mutual

funds as selected and sold at the time of sale of the SIMPLE IRAs.

      171.   As a result, Plaintiffs and the Class Members have suffered

substantial harm.




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                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs demand injunctive relief and damages, in their

favor and against Defendant as follows:

      A. Determining that this action is a proper class action under Rule 23 of the

         Federal Rules of Civil Procedure;

      B. Awarding compensatory damages in favor of Plaintiffs and other Class

         members against all defendants, jointly and severally, for all damages

         sustained as a result of Defendants’ wrongdoing, in an amount to be

         proven at trial, including interest thereon;

      C. Awarding Plaintiffs and the Class their reasonable costs and expenses

         incurred in this action, including counsel fees and expert fees; and

      D. Granting such other and further relief as this Court may deem just and

         proper.

                           JURY TRIAL DEMANDED

      Plaintiffs hereby demand a trial by jury.

Dated: January 16, 2024.              Respectfully Submitted,

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